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                                               UNITED STATES DISTRICT COURT
                                                for the District of New Jersey [LIVE]
                                                             Trenton, NJ



 SEAN D. MALCOLM
                                                  Plaintiff,
 v.                                                                               Case No.: 3:19−cv−11734−FLW−DEA

 BRUCE DAVIS, et al.
                                                  Defendant.

 Dear Litigant:

    The Clerk's Office has received and processed your complaint and has assigned the above−listed
 docket number and judicial officer. The docket number and Judge's initials must appear on any paper
 that is submitted to the Court.

    To allow you to serve your complaint on Defendants through the U.S. Marshals Service ("USMS"),
 enclosed please find a USMS Form 285 ("285 form"), which you must complete and return to the
 USMS within 30 days. One 285 form must be completed for each named defendant to be served. The
 USMS will NOT serve the summons and complaint unless it receives a form for that defendant. A
 sample of a completed 285 form is attached. If you do not wish to use the USMS to serve your
 complaint, you must notify the Court in writing within 30 days of the date of this letter and request a
 summons to be issued to you directly.

    You must serve your complaint within 90 days of the date it was filed, regardless of whether you use
 the USMS to serve your complaint. It is your responsibility to inquire of the USMS as to whether
 service has been made and, if necessary, to request an extension of time for service from the Judge
 presiding over your case. If within 90 days of the filing of the complaint, you have not made service or
 requested an extension of time, the Court may dismiss this action for failure to prosecute under Rules
 4(m) and 41(b) of the Federal Rules of Civil Procedure. Finally, it is your obligation to promptly submit
 a written notification to the Court if your address changes, and the Court may dismiss the action
 pursuant to Local Civil Rule 10.1(a) if you fail to do so.

      Send completed USM 285 form(s) to the U.S. Marshal's Service at:

         UNITED STATES MARSHAL'S SERVICE
         402 East State Street
         Trenton, NJ 08608

                                                                                  Very truly yours,

                                          William T. Walsh, Clerk
                                          By Deputy Clerk, jdb
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                              FOR OFFICIAL USE ONLY


      The USMS certifies that:

             285 form received on ________________ (date)

             285 form not received by __________________ (date)

                                                                              ____________________________________
                                                                              Signature of Authorized USM Deputy/Clerk
___________________________
 1 If you are suing the United States, Its agencies, Officers or Employees, you must complete two additional 285 forms−−one for the U.S. Attorney for New
Jersey, and one for the Attorney General of the United States, see Fed.R.Civ.P. 4 (i).

2 Effective December 1, 2015, Rule 4(m) of the Federal Rules of Civil Procedure was amended to require that the defendant be served within 90 days after
the complaint is filed.
